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                    EXHIBIT 46
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



 STATE OF NEW YORK, et al.

          Plaintiffs,

                v.
                                                             Case No. 1:25-cv-00196
 ROBERT F. KENNEDY, JR., in his official capacity as
 SECRETARY OF THE U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

          Defendants.



                                  DECLARATION OF JOHN DOE 1

        I, John Doe, declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

 foregoing is true and correct:

        1.      I was employed by the Division of Environmental Health Science and Practice

 (DEHSP), part of the National Center for Environmental Health (NCEH) within the Centers for

 Disease Control and Prevention (CDC). I have personal knowledge of the facts set forth in this

 declaration, and if required to testify, would and could competently do so.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name or job position, I would be willing to provide it ex parte

 and under seal.

        3.      I submit this Declaration in support of the States’ Motion for a Preliminary

 Injunction.

 Professional Background

        4.      I have worked in public health for over two decades. I understand how

 environmental health is done in public health departments at the local, state, and federal levels.
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 In brief, when an environmental health professional needs assistance or support for any of their

 work at the local level then they rely on their state to support them. When a very large city or the

 state environmental health program in their public health department needs assistance and

 support then they rely on us at the CDC to support them. That federal support stopped on April 1,

 2025. All of the environmental health programs in public health departments across the country

 are on their own now without any support from their former key partners within DEHSP in the

 National Center for Environmental Health at the CDC.

        5.      I am providing this declaration to explain the impacts of the reductions in force

 (RIFs) of April 1, 2025, on the operations of DEHSP. The April 1 RIFs have brought DEHSP’s

 work to a halt and interrupted the deployment of DEHSP staff to jurisdictions facing acute

 environmental health crises. All of our programs and all of our work focused on supporting

 environmental health programs in health departments across the country are gone. These are

 listed on our website here: About Division of Environmental Health Science and Practice |

 NCEH | CDC (available here: https://perma.cc/9GSH-8X47). Again, none of these activities,

 programs, or branches listed on our website are active because DEHSP was effectively abolished

 on April1, 2025. These impacts will continue to be felt by the states as well as by their residents,

 as DEHSP will no longer be able to support state, territorial, local, and tribal (STLT) partners in

 responding to events that threaten public health from hazards in the environment including lead

 contamination, water pollution, hurricanes, heat waves, wildfires, and more.

 DEHSP’s Mission and Work Prior to April 1, 2025

        6.      Environmental health professionals are the second most common profession in

 public health at the local levels. They are the foundation to our public health infrastructure

 ensuring that our local food, water, air, and places where we live, learn, work, and play are safe
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 and healthy. They are the reason why Americans don’t fear drinking from a water fountain in a

 county park, swimming in a city pool, eating at a restaurant or at a farmers’ market. They are the

 reason why we don’t fear for the health of our families when we send our children off to school

 or daycare, our parents into nursing homes, or ourselves when we exercise in the gym, go to the

 spa, or get a tattoo. Environmental health professionals across the country use primary

 prevention to protect the public from health hazards in these environments and enable the

 freedoms that we have in America to live, work and play freely. This public health infrastructure,

 which is empowered by the inspections and permitting of local environmental public health

 officials across the country, enables our economy to thrive because our people are healthy and

 safe from the public health hazards which plagued our nation prior to the public health and

 sanitation movements of the early and mid-1900s. These freedoms from disease hazards in our

 environment still don’t exist in some other countries around the world. That is why we remain

 vigilant regarding the reintroduction of such disease hazards in our environment from others

 coming into America. DEHSP is established to support this entire environmental public health

 infrastructure through their dedicated support of environmental health programs at all levels of

 government. DEHSP has stood at the ready to provide the needed environmental health expertise

 required for outbreaks of disease, natural disasters, and other public health crises from hazards in

 the environment. In doing so, DEHSP prevents exposures to environmental health hazards to

 improve health in all communities through applied environmental public health science and

 practice. No other public health unit at CDC or HHS has this focus on supporting environmental

 health programs across the country; our work is not duplicated anywhere else, and our experts

 and expertise are unique. DEHSP’s mission is supported by surveillance, epidemiology, technical

 assistance, training, and preparedness activities. The Division provides critical environmental
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 health support and funding for environmental health departments and other partners with similar

 missions. Our nation’s environmental health programs at all levels of government rely on the

 premier expertise and experience of the staff in DEHSP. These experts in DEHSP are called upon

 by our environmental health programs across the country when no one else can help them with

 the challenges that they face. All of that support, expertise, and experience is now gone because

 DEHSP was abolished on April 1, 2025, when all of the civilian staff were subjected to the RIF.

 Our environmental health professionals across the country do not have any premier

 environmental public health professionals to call now at the CDC to help them. Our states,

 territories and tribes are on their own now to manage all of their environmental public health

 challenges and crises.

        7.      NCEH contains two divisions: DEHSP and the Division of Laboratory Sciences.

 DEHSP handles the non-laboratory work of the NCEH with a focus on supporting state,

 territorial, local, and tribal environmental public health programs and departments. There is no

 overlap with the Division of Laboratory Sciences.

 DEHSP Core functions and structure

        8.      DEHSP is organized into five branches and one activity. These include all of the

 national public health programs supporting the environmental health work in STLT health

 departments and other allied partners: childhood asthma, childhood lead poisoning prevention,

 public health impacts from our changing climate, environmental health data tracking, safe food,

 safe water, general environmental public health services, natural hazards and public health,

 cancer clusters, disaster epidemiology, environmental epidemiology, public health impacts of

 radiation, chemical weapons demilitarization, medical toxicology and poisoning surveillance,

 and more. Our cruise ship program supports public health in port communities across the
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 country. These are the core functions of DEHSP. Most states and large cities lack the resources to

 support complementary specialized environmental public health expertise locally within their

 jurisdictions. That is why the nation depends on the expertise and experts in DEHSP.

         9.      DEHSP Disaster Epidemiology teams deploy to the sites of environmental health

 crises to assist state, territorial, local, and tribal health departments in their response. For

 example, in recent years Disaster Epidemiology teams have been deployed to Los Angeles,

 California and Maui, Hawai‘i to respond to the public health effects of wildfires, and Maricopa

 County, Arizona to assist with ongoing heat waves and cooling center efforts. We also supported

 communities responding to disaster remotely in other ways.

         10.     DEHSP’s Lead Poisoning Prevention and Surveillance Branch provides support

 for managing ongoing lead crises, including through the congressionally mandated Childhood

 Lead Poisoning Prevention Program. The program strengthens blood lead testing, reporting, and

 surveillance. DEHSP also supports state and local health departments in population-based

 interventions and connecting lead-exposed children to services. Moreover, DEHSP manages the

 poison control center reporting exposure to lead contaminated products.

         11.     DEHSP’s Radiation Studies Section sets guidelines for preventing and responding

 to radiological threats to public health. These guidelines help make nuclear and radiological

 resources safe for consumers.

         12.     DEHSP is also responsible for the congressionally mandated Asthma Control

 Program, which focuses of reducing the number of deaths, hospitalizations, emergency

 department visits, school or workdays missed, and limitations on activity due to asthma. The

 Asthma Control Program funds state and local health departments to ensure access to asthma

 treatment for individuals and has led to improvements in disease outcomes and quality of care,
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 and fostered policies to reduce exposure to environmental facts contributing to asthma, including

 air pollution.

         13.      DEHSP’s Environmental Public Health Tracking Network collects, analyzes, and

 disseminates data on threats to public health from non-infectious disease, environmental risk

 factors, and socio-economic factors. This data is collected and shared with state, territorial, local,

 and tribal partners.

         14.      DEHSP’s Vessel Sanitation Programs helps the cruise ship industry prevent and

 control the spread of illness on cruises, protecting both passengers and cruise ship workers.

 Through this program, DEHSP inspects cruise ships, monitors illness data, reviews ship design,

 and trains cruise ship leaders and staff on public health practices.

         15.      DEHSP also provides support for state, territorial, local, and tribal health

 departments conducting investigations into unusual patterns of cancers potentially caused by

 environmental health factors.

         16.      DEHSP’s work is authorized by Congress. Its work regarding lead contamination,

 asthma, emerging environmental hazards and health effects, climate and health, food safety, data

 tracking, public health concerns from radiation, and environmental public health disasters are

 authorized primarily under the Public Health Service Act. There is special legislation

 empowering the work of the vessel sanitation, cancer clusters, and chemical weapons

 demilitarization programs.

         17.      Much of DEHSP’s work is conducted through cooperative agreements with STLT

 partners. Unlike grants, under a cooperative agreement CDC is required to make staff available

 to work cooperatively with partner entities, including by answering questions, providing

 technical assistance, and actively managing the funds. DEHSP manages the Environmental
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 Health Capacity funding mechanism for CDC, the only funding mechanism specifically

 dedicated to supporting the broadly required capabilities in environmental health programs

 within health departments nationwide. The focused funding opportunities for childhood asthma,

 lead poisoning prevention, environmental public health data tracking, and climate and health are

 unique and not replicated elsewhere in CDC or HHS.

        18.     DEHSP works closely with the Agency for Toxic Substances and Disease

 Registry (ATSDR), a separate operating division of the Department of Health and Human

 Services (HHS). ATSDR is not mandated to provide comprehensive environmental health

 support to state, territorial, local, and tribal health departments as DEHSP does. ATSDR’s

 mission is complementary to DEHSP but very different with a specific focus on supporting

 communities exposed to toxic contamination in their local environment. ATSDR is empowered

 through the CERCLA legislation. That legislation is not designed to support the core functions of

 environmental health departments in public health agencies across the USA unlike the core

 funding and mission of DEHSP. Although jointly administered with the NCEH in the CDC, there

 is no programmatic overlap between DEHSP and ATSDR.

 DEHSP emergency preparedness and response functions

        19.     CDC is the lead agency within HHS for any public health emergency, crisis,

 outbreak, epidemic, or disaster of national significance. Within the CDC, different Centers are

 delegated specific preparedness and response functions. NCEH has been designated to lead the

 response to any natural disaster, chemical terrorist event (e.g. sarin attack in Tokyo), radiological

 or nuclear event (e.g. Three Mile Island or Fukushima), or explosion (e.g. Beirut or Iran port

 explosions). Within NCEH, the bulk of the expertise needed to lead and staff a public health

 response for CDC is in DEHSP. All of the programs supporting this required expertise in DEHSP
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 is now gone and the expertise lost. Therefore, NCEH will be unable to support a national public

 health response to any of these types of events right now. Going into the summer season, the lead

 programs and experts to support a public health response to natural disasters in DEHSP are gone.

 These are experts in disasters like catastrophic flooding, tornadoes, heat waves, wildfires and

 associate smoke events, hurricanes, and algal blooms. High consequence but lower probability

 events like chemical, nuclear, radiological, or explosive events will have insufficient specialized

 experts to support them. Due to the low probability for these events at the local level, STLT

 partners rarely staff their health departments with expertise like that within DEHSP. They rely on

 the expertise of DEHSP in events like these. Any nuclear event anywhere in the world would

 require a national public health response at CDC like we led during the Fukushima disaster. If

 there were an event at one of the nuclear power plants in Ukraine right now, like what was

 narrowly averted with the Zaporizhzhia nuclear power plant during the current war in Ukraine,

 then the US would be unable to support a public health response due to the loss of the expertise

 in DEHSP. The abolishment of DEHSP has put the public health of the USA at risk and

 vulnerable to natural and technological disasters.

 The April 1, 2025, RIFs and Effects on DEHSP

        20.     On April 1, 2025, the remainder of our roughly 200 DEHSP employees—myself

 included—received RIF notices. We were placed on administrative leave until our expected

 termination on June 2. We have not been permitted to continue our work during this time.

        21.     The RIFs effectively shut down DEHSP. All but one civilian employee of DEHSP

 received a RIF notice. Only commissioned members of the Public Health Service remain

 employed in the Division and a few fellows employed through non-HHS mechanisms.
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            22.   Prior to the April 1 RIFs, all of the Division’s probationary employees were let go

  on February 14th. Since then some staff voluntarily chose to retire early due to the political

  uncertainty, accepted the deferred resignation program, or accepted the VERA/VSIP retirement

  option.

            23.   The contractors working with DEHSP have not been terminated yet. Their

  contracts run through the end of the fiscal year, but they are unable to adequately and efficiently

  carry out their work functions without DEHSP staff in place directing them.

  The April 1 RIFs Have Eviscerated DEHSP’s Work

            24.   The RIFs have effectively halted all of DEHSP’s Congressionally funded work

  because there is insufficient PHS staff left in the Division to carry it out. This includes the

  Division’s statutorily mandated functions. The Vessel Sanitation Program is funded by fees

  collected from the cruise industry and has sufficient PHS and NCEH support staff now assigned

  to support them to maintain the program currently.

            25.   A DEHSP Disaster Epidemiology team was traveling to North Carolina to support

  authorities there in responding to hurricane-related health threats when the RIF notices came

  through. The team was forced to turn around and was unable to provide support.

            26.   Milwaukee, Wisconsin is in the midst of a lead contamination crisis in its public

  schools. DEHSP had begun providing support to the state and local health departments for lead

  contamination response but was forced to withdraw that desperately needed support after the

  RIFs. Without DEHSP, public health officials responding to the crisis have been denied the

  expertise and experience of the federal government. That has placed public health at risk.

            27.   Moreover, without staff DEHSP does not stand ready to respond to the public

  health crises and challenges that will emerge in the coming months and years. For example,
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  extreme heat routinely leads to catastrophic harmful algae blooms requiring DEHSP’s response

  (a concern in Florida in years past). Or, if a chemical emergency such as a Sarin attack, nuclear

  meltdown, or chemical explosion should occur in the near future, CDC would be unable to

  provide support to state, territorial, local, or tribal public health authorities without DEHSP staff

  in place.

  Conclusion

         28.     The April 1, 2025 RIFs have incapacitated DEHSP. Thus, the Division’s standard

  programmatic work to address lead contamination, asthma, safe water, emerging environmental

  hazards and health effects, food safety, data tracking, chemical demilitarization, and other

  environmental health threats, is not being completed. Nor can DEHSP respond to acute

  environmental health crises including natural and man-made disasters. Moreover, without

  DEHSP, no other agency within CDC or HHS will carry out DEHSP’s function providing

  guidance and support to state, territorial, local, and tribal public health authorities in important

  matters of public health.



                                         _____John Doe_____
                                         John Doe

  Date: May 7, 2025
